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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
____________________________________
                                              )
BARRY MICHAELS,                               )
                                              )
                         Plaintiff,           )
                                              )
                 v.                           ) Case No. 18-cv-2906
                                              )
MATTHEW G. WHITAKER, in his                   )
official capacity as Acting Attorney General, )
                                              )
                         Defendant.           )
____________________________________ )

    DEFENDANT’S OPPOSITION TO PLAINTIFF’S PROPOSED SCHEDULE
  RELATING TO HIS EMERGENCY MOTION FOR PRELIMINARY INJUNCTION

       On December 11, 2018, Plaintiff Barry Michaels filed a Complaint seeking declaratory and

injunctive relief—and in the alternative a writ of quo warranto—against Defendant Matthew G.

Whitaker to prevent him from exercising his authority as Acting Attorney General. See Compl.,

ECF No. 1. Plaintiff also filed an Emergency Motion for Preliminary Injunction that asks this Court

to take the extraordinary step of unseating a presidentially designated Acting Attorney General and

turn over control of the Department of Justice to Deputy Attorney General Rod J. Rosenstein, as

well as the bizarre, and likely unprecedented, step of directly interfering with ongoing proceedings

before the U.S. Supreme Court. See Mot. for Prelim. Inj., ECF No. 2 (“Mot.”). Specifically, Plaintiff

asks this Court to prevent Mr. Whitaker from supervising a filing before the Supreme Court—the

Government’s response to Plaintiff’s pending petition for writ of certiorari—in a case arising out of

the Ninth Circuit. The Government’s response in that case, Michaels v. Whitaker, No. 18-496 (S. Ct.

Jun. 27, 2018), is due on Monday, December 17.

       Local Rule of Civil Procedure 65.1(c) gives Defendant until December 18, 2018, to file his

opposition to Plaintiff’s emergency motion. Plaintiff asks the Court to shorten that time to set a

hearing on Friday, December 14, 2018. See Mot. at 2. He does so solely to seek injunctive relief that
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interferes with the Government’s December 17 filing before the Supreme Court. As set forth

below, that request should be denied because Plaintiff does not attempt to justify his significant

delay in seeking the relief sought here, does not explain why he has yet to ask the Supreme Court for

this relief, and cannot explain how or why this Court should interfere with the Department of

Justice’s filings in the Supreme Court when the Supreme Court obviously would be entirely capable

of addressing Plaintiff’s claim if he had even raised it there. Although Plaintiff’s emergency motion

should be summarily denied on the basis that it improperly asks the Court to interfere with litigation

in an unrelated case before the Supreme Court, at a minimum, the briefing of this emergency motion

should proceed in the manner prescribed by this Court’s local rules. Thus, the Court should allow

Defendant to file his opposition by no later than December 18, 2018.

                                            ARGUMENT

          Notwithstanding the fact that the President designated Mr. Whitaker to act temporarily as

Attorney General on November 7, 2018, see Designating an Acting Attorney General, 42 Op. O.L.C.

__, at 1 (Nov. 14, 2018), slip op. (“OLC Memorandum”), 1 Plaintiff chose to wait over a month to

file this emergency motion. Notably, Plaintiff does not explain the reason for such delay and why,

despite waiting this long, Defendant should be forced to address his motion in less than two days.

Plaintiff’s delay is particularly inexcusable given the fact that he asked the Supreme Court for relief

relating to the validity of Mr. Whitaker’s designation, but did not ask for the relief sought here.

          On November 16, 2018, Plaintiff—the petitioner in Michaels v. Whitaker, No. 18-496 (S. Ct.

Jun. 27, 2018) 2 —asked the Supreme Court to substitute Rod J. Rosenstein, the Deputy Attorney



1
    Available at https://www.justice.gov/olc/file/1112251/download.
2
  Plaintiff had brought a putative class action alleging that the federal prohibition on firearm
possession by convicted felons, 18 U.S.C. 922(g)(1), is unconstitutional as applied to certain
individuals convicted of non-violent felonies. Following the Ninth Circuit’s decision affirming the
dismissal of his action, Plaintiff filed a petition for a writ of certiorari naming then-Attorney General
                                                    2
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General, as a respondent in lieu of Acting Attorney General Whitaker. Plaintiff asked the Court to

substitute Rod J. Rosenstein as Acting Attorney General on the basis that Mr. Whitaker’s

designation is unlawful on both statutory and constitutional grounds. 3 Plaintiff also invited the

Supreme Court to order additional briefing on the lawfulness of Mr. Whitaker’s designation, see

Petitioner’s Mot. to Substitute at 3 n.1, Michaels v. Whitaker, No. 18-496 (U.S. Nov. 16, 2018), but the

Supreme Court has declined to take that step. Plaintiff has known for over a month that the

Government’s response to his petition for writ of certiorari is due on December 17. But he did not

ask the Supreme Court to prevent Mr. Whitaker from exercising his supervisory authority over the

Government’s December 17 filing (or any other injunctive relief). And indeed, Plaintiff has not

asked the Supreme Court for such relief to this day.

        Despite the numerous opportunities to ask the Supreme Court for additional relief

concerning the Government’s December 17 response, he waited until now to ask this Court—a

forum that has no nexus to the Michaels v. Whitaker lawsuit—to order emergency injunctive relief

that would implicate the Government’s conduct of litigation before the Supreme Court. The

unjustified delay undermines Plaintiff’s request for an expedited schedule or any other emergency

relief. In fact, Plaintiff’s unjustified delay warrants the summary denial of his motion for a

preliminary injunction.

        Plaintiff’s demand for an expedited schedule, after his own dilatory conduct, is particularly

unsound given the extraordinary nature of the order he seeks. Plaintiff asks this Court to interfere




Sessions as one of the respondents in the case. See Mem. for Respondents in Opposition to
Petitioner’s Mot. to Substitute, Michaels v. Whitaker, No. 18-496 (U.S. Nov. 2018) (attached to
Plaintiff’s Motion as Exhibit B, ECF No. 2-1).
3
 On November 9, 2018, two days after the designation of Mr. Whitaker, the Government’s motion
for extension of time to respond to Plaintiff’s petition was granted and the deadline to respond was
set for December 17.
                                                   3
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with the Department’s conduct of litigation currently pending in the Supreme Court, which is of

course more than capable of supervising its own proceedings.

        Indeed, the Supreme Court alone has the “exclusive” and “inherent supervisory authority” to

manage its own affairs and dispose of its own cases. In re Marin, 956 F.2d 339, 340 (D.C. Cir. 1992)

(emphasis added). And the fact that the Supreme Court has not ruled on Plaintiff’s motion for

substitution does not give him carte blanche to file an emergency motion in this Court implicating his

pending litigation in the Supreme Court. Id. (concluding that the “supervisory responsibility” over

the Supreme Court’s own staff and affairs “is exclusive to the Supreme Court and that neither a

district court nor a circuit court of appeals has jurisdiction to interfere with it by mandamus or

otherwise”).

        If the Court does not summarily deny Plaintiff’s belated “emergency” motion for preliminary

injunction, it should adopt a schedule consistent with Local Rule 65.1(c). That rule provides that

Defendant’s opposition to an application for preliminary injunction “shall be served and filed within

seven days after service of the application” and that “a hearing on an application . . . shall be set by

the Court no later than 21 days after its filing, unless the Court earlier decides the motion on the

papers or makes a finding that a later hearing date will not prejudice the parties.” Loc. Civ. R.

65.1(c). Under this rule, Defendant is entitled to file his opposition to the emergency motion by

December 18, 2018 and not before. And although Plaintiff argues that “[i]t should not be difficult

for the Government to respond on an expedited basis” because the Government has an opinion

from the Office of Legal Counsel and “briefs in multiple cases (including this one in the Supreme

Court),” Mot. at 2, Plaintiff conveniently ignores that his Complaint seeks a form of relief—the writ

of quo warranto—that has yet to be briefed by the Government. There is no basis to deprive

Defendant of the opportunity to fully consider and address Plaintiff’s motion, particularly in light of




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the fact that Plaintiff took over a month to file it and that he never asked the Supreme Court for the

remedy sought here.

       Accordingly, the Court should summarily deny Plaintiff’s emergency motion, or at a

minimum allow the briefing of Plaintiff’s emergency motion to proceed in the manner prescribed by

this Court’s local rules and allow Defendant to file his opposition no later than December 18.

Dated: December 12, 2018                       Respectfully submitted,

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